Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 1 of 53 PageID #: 124




EXHIBIT B
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 2 of 53 PageID #: 125




Editorial Process of JSS vol. 12
In my Webcast https://www.youtube.com/watch?v=-BYEmzYAMok&t=4125s, I
mentioned being asked by Levi Walls and Ben Graf if we should publish anti-
Schenkerian responses in the Symposium. The letter referenced is dated February 13,
2019, from Levi to me and copied to Ben asking me precisely that question. In his letter,
Levi states that, although he and Ben disagreed with a lot of the arguments put forward
by Ewell's supporters, he and Ben felt that we should publish their papers; of course, in
the spirit of a dialectical scholarly discourse, I agreed, and therefore we published all of
the pro-Ewell papers as well as the pro-Schenker responses.



[Members of the Editorial Board Correspondence re. Call
for Papers, Nov. 25- Dec. 1, 2019]

Members of the editorial board correspondence re. the wording of the call
for responses. Also, see Jackson message acknowledging the need for hiring
more black/brown/Latino/Asian male and female music theorists.

From: Timothy Jackson <shermanzelechin@gmail.com>
Date: Fri, Nov 29, 2019 at 2:03 PM
Subject: Re: Framing for call for responses to Ewell paper
To: Walls, Levi <LeviWalls@my.unt.edu>
Cc: Slottow, Stephen <Stephen.Slottow@unt.edu>, Graf, Benjamin
<Benjamin.Graf@unt.edu>, Cubero, Diego <Diego.Cubero@unt.edu>, Bakulina,
Ellen <Ellen.Bakulina@unt.edu>, Chung, Andrew <Andrew.Chung@unt.edu>
Dear Colleagues,
I hate to be the fly in the ointment, but the call does not seem ready to me just yet.
And here is why. Interestingly - and very significantly - in his abstract, Ewell says
nothing at all about the talk's attack on 1) Schenker,2) Schenkerians, and 3)
Schenkerian methodology.

Indeed, given his abstract, most people would find nothing objectionable in it, and
wonder why a call for responses would even be necessary. Most of us would agree that
there are too few blacks and women in the field of music theory, and that it is desirable
to try to recruit more.

But that is not the reason why the JSS is issuing this call for responses! The call still
needs to make explicit in some way why JSS, which is focused on "Schenkerian
Studies" as implied by its title, would need to "respond" to Ewell's remarks at the SMT at
all, especially since the reason is not discernible in his abstract. We can include his

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 3 of 53 PageID #: 126




abstract if you want, but it is what he actually said about Schenker, Schenkerians, and
Schenkerian methodology that matters and is the raison d'etre for the call.

Therefore, we need to make the call draw attention to Ewell’s conclusions in the paper
he actually delivered, and not his abstract. Here is some language derived from Ewell's
talk which might be used in the call: Schenker’s concepts of scale degrees and
dissonance resolution, and tonal hierarchy are inherently racist. (2:30) Study of
Schenker’s musical ideas has helped to legitimize harmful stereotypes about blacks and
other people of color. (2:32) “Diversity" is a cynical strategy to reinforce inequality. (2:32)
Reduce the study of Western music theory to two semesters (this would certainly solve
a lot of problems, because then no one would even be able to attempt to study
Schenker’s ideas, which is apparently the point). (2:34) Schenker's followers (Forte,
Oster, Rothgeb, Rothstein, and others) have suppressed the racist statements in
translations of Schenker's publications in order to conceal his racist ideology.

THESE are the conclusions that Ewell explicitly draws about Schenker, Schenkerians,
and Schenkerian methodology that are at the core of his argument, and the reason why
the Journal is eliciting responses. If we do not make this point explicit, then we run the
risk of appearing reactionary and racist ourselves!

This issue needs to be addressed BEFORE we are ready to go forward.
Best, Tim



From: Walls, Levi
Sent: Monday, November 25, 2019 1:00 PM
To: Bakulina, Ellen <Ellen.Bakulina@unt.edu>; Chung, Andrew
<Andrew.Chung@unt.edu>; Cubero, Diego <Diego.Cubero@unt.edu>
Cc: Timothy Jackson <shermanzelechin@gmail.com>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Graf, Benjamin <Benjamin.Graf@unt.edu>
Subject: Framing for call for responses to Ewell paper

Dear Drs. Bakulina, Chung, and Cubero,
The JSS is preparing to send out a call for responses to the Ewell paper at
SMT. We all thought it would be prudent to get input from other faculty members
regarding the specific framing of the call. Please let us know if you have any
thoughts on improving the language of the call, especially in regards to
inclusiveness and impartiality:

The SMT paper given by Philip Ewell, "Music Theory's White Racial Frame," has
inspired a good deal of debate within the Schenkerian community. As a journal
dedicated to Schenkerian studies, we find it important to foster these discussions.
As part of volume 12, we invite interested parties to submit essay responses to
Ewell's paper. The Journal of Schenkerian Studies takes no official stance on the
issues addressed by Ewell, and we hope to publish a variety of thoughts and

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 4 of 53 PageID #: 127




perspectives. Submissions must adhere to the following guidelines:
Essays should be 1,000 to 3,000 words in length.
In order to leave sufficient time for editorial work, submissions must observe a
strict deadline of January 13, 2019.
Any questions or concerns regarding submissions may be directed at the editors
(Schenker@unt.edu).
Regards,
Levi Walls (with Drs. Jackson, Slottow, and Graf in copy)



From: "Chung, Andrew" <Andrew.Chung@unt.edu>
Date: Monday, November 25, 2019 at 1:07 PM
To: "Walls, Levi" <LeviWalls@my.unt.edu>, "Bakulina, Ellen"
<Ellen.Bakulina@unt.edu>, "Cubero, Diego" <Diego.Cubero@unt.edu>
Cc: Timothy Jackson <shermanzelechin@gmail.com>, "Slottow, Stephen"
<Stephen.Slottow@unt.edu>, "Graf, Benjamin" <Benjamin.Graf@unt.edu>
Subject: RE: Framing for call for responses to Ewell paper

Dear Levi + others,
I think it’s great that JSS is looking to engage Ewell’s SMT talk. What do you think
about mentioning very briefly some of the content and context of Ewell’s remarks
vis-à-vis Schenker? As the CFP stands, it seems to presume that everyone knows
what Ewell said, and what tendencies of Schenker’s Ewell chose to talk about
(most readers probably do understand both of these things). The thing to be
careful about, of course, is not to implicitly encourage responses of one kind and
discourage responses of another kind.
Cheers,
Dr. Chung


From: Slottow, Stephen <Stephen.Slottow@unt.edu>
Sent: Monday, November 25, 2019 1:15 PM
To: Chung, Andrew <Andrew.Chung@unt.edu>; Walls, Levi
<LeviWalls@my.unt.edu>; Bakulina, Ellen <Ellen.Bakulina@unt.edu>; Cubero,
Diego <Diego.Cubero@unt.edu>
Cc: Timothy Jackson <shermanzelechin@gmail.com>; Graf, Benjamin
<Benjamin.Graf@unt.edu>
Subject: Re: Framing for call for responses to Ewell paper
Good idea. One way this could be done is to reproduce Ewell’s SMT abstract and
link to the SMT reproduction of his slides and video of his talk, which is on both
the SMT and his Hunter website. I’m not sure how long it’ll stay on the SMT
website.
-sps
Stephen Slottow

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 5 of 53 PageID #: 128




Associate Professor of Music Theory
University of North Texas


From: Bakulina, Ellen <Ellen.Bakulina@unt.edu>
Sent: Monday, November 25, 2019 11:32:30 AM
To: Slottow, Stephen <Stephen.Slottow@unt.edu>; Chung, Andrew
<Andrew.Chung@unt.edu>; Walls, Levi <LeviWalls@my.unt.edu>; Cubero, Diego
<Diego.Cubero@unt.edu>
Cc: Timothy Jackson <shermanzelechin@gmail.com>; Graf, Benjamin
<Benjamin.Graf@unt.edu>
Subject: Re: Framing for call for responses to Ewell paper
Oh, and change January 13, 2019 to 2020.
-EB

From: Bakulina, Ellen <Ellen.Bakulina@unt.edu>
Sent: Monday, November 25, 2019 1:22 PM
To: Slottow, Stephen <Stephen.Slottow@unt.edu>; Chung, Andrew
<Andrew.Chung@unt.edu>; Walls, Levi <LeviWalls@my.unt.edu>; Cubero, Diego
<Diego.Cubero@unt.edu>
Cc: Timothy Jackson <shermanzelechin@gmail.com>; Graf, Benjamin
<Benjamin.Graf@unt.edu>
Subject: Re: Framing for call for responses to Ewell paper

Yes, good idea to provide link to the recording of Ewell's talk. As far as I know, it will be
available on the SMT website until January 15, which is after your January 13 deadline,
so there is no problem here.

Could you specify that the paper was part of the plenary session? Right now, it
looks like it was a regular SMT paper (which would probably produce less reverberation
than a plenary one).

As for encouraging different kinds of responses, the CFP already says "variety of
thoughts and perspectives." I think this is quite clear.
All best,
-EB

From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Tuesday, November 26, 2019 6:21 AM
To: Bakulina, Ellen <Ellen.Bakulina@unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Chung, Andrew <Andrew.Chung@unt.edu>; Cubero,
Diego <Diego.Cubero@unt.edu>
Cc: Timothy Jackson <shermanzelechin@gmail.com>; Graf, Benjamin
<Benjamin.Graf@unt.edu>
Subject: Re: Framing for call for responses to Ewell paper

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 6 of 53 PageID #: 129




Hi all,
Thank you all very much for the input. Drs. Jackson, Slottow, and Graf, I’ll
draft a final version of the call and get it back to you around midday, then we can
discuss how to proceed. We should be able to send it out today.
Regards,
Levi Walls

From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Tuesday, November 26, 2019 12:24 PM
To: Bakulina, Ellen <Ellen.Bakulina@unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Chung, Andrew <Andrew.Chung@unt.edu>; Cubero,
Diego <Diego.Cubero@unt.edu>
Cc: Timothy Jackson <shermanzelechin@gmail.com>; Graf, Benjamin
<Benjamin.Graf@unt.edu>
Subject: Re: Framing for call for responses to Ewell paper
Dear Drs. Jackson, Slottow, Graf, et al.,
I've attached a new version of the call. Let me know if it looks okay, or if there are
any other issues that come to mind.
Dr. Bakulina, I believe that was the plan. Dr. Jackson also mentioned sending it to
the Sibelius and Estonian academies. We'll have to confirm exactly how/where to
send it out.
Regards,
Levi Walls

On Fri, Nov 29, 2019 at 12:55 PM Walls, Levi <LeviWalls@my.unt.edu> wrote:
Hi all,
Here is a new copy of the call with "Schenkerian community" changed to
"theory community" and the January 13 deadline. How/where should we send it
out? We previously discussed using the SMT list and possible other places
(Estonian and Sibelius academies).
Regards,
Levi Walls

Journal of Schenkerian Studies vol. 12 (2019) Call for Papers
The SMT plenary presentation given by Philip Ewell, "Music Theory's White Racial
Frame," has inspired a good deal of debate within the Schenkerian community. As
a journal dedicated to Schenkerian studies, we find it important to foster these
discussions. As part of volume 12, we invite interested parties to submit essay
responses to Ewell's paper. The Journal of Schenkerian Studies takes no official
stance on the issues addressed by Ewell, and we hope to publish a variety of
thoughts and perspectives. Submissions must adhere to the following guidelines:
Essays should be 1,000 to 3,000 words in length.
In order to leave sufficient time for editorial work, submissions must observe a
strict deadline of January 13, 2020.
Any questions or concerns regarding submissions may be directed at the editors
(Schenker@unt.edu).

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                                                                              JACKSON000075
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 7 of 53 PageID #: 130




Please refer to Ewell’s abstract, as well as links to the presentation slides and
video recording (listed below):

On Nov 26, 2019, at 12:39 PM, Bakulina, Ellen <Ellen.Bakulina@unt.edu> wrote:
Looks good to me. Thanks for asking for our opinions!
-EB


From: Cubero, Diego <Diego.Cubero@unt.edu>
Sent: Tuesday, November 26, 2019 2:00 PM
To: Bakulina, Ellen <Ellen.Bakulina@unt.edu>
Cc: Walls, Levi <LeviWalls@my.unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Chung, Andrew <Andrew.Chung@unt.edu>; Timothy
Jackson <shermanzelechin@gmail.com>; Graf, Benjamin
<Benjamin.Graf@unt.edu>
Subject: Re: Framing for call for responses to Ewell paper
Dear Levi and all,
The call looks good. I would make the two following suggestions:
1. There is a passage that reads: "We invite interested parties to submit essay
responses to Ewell's paper.” I would change it to: “We invite responses to Ewell’s
paper.”
2. I do not like the phrase “Schenkerian community.” It is quite exclusive. Think of
a way to reword this sentence. I will, too.
2. Extend the deadline at least to February 1st. A month and a half is a pretty short
turn around, especially considering that it is the holidays.
Best,
Diego



From: "Graf, Benjamin" <Benjamin.Graf@unt.edu>
Date: Wednesday, November 27, 2019 at 9:44 AM
To: "Cubero, Diego" <Diego.Cubero@unt.edu>, "Bakulina, Ellen"
<Ellen.Bakulina@unt.edu>
Cc: "Walls, Levi" <LeviWalls@my.unt.edu>, "Slottow, Stephen"
<Stephen.Slottow@unt.edu>, "Chung, Andrew" <Andrew.Chung@unt.edu>,
Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: Framing for call for responses to Ewell paper

Dear Diego and all,
I completely agree with point #2, which is now changed to “theory community" (thank
you Levi).

As to the deadline-- from an editor's perspective, we really cannot delay the
submissions further. There is quite a bit of work that must be done after the
submissions come in. For example, the following timeline would be a fair estimate:

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 8 of 53 PageID #: 131




Feb 1: collect submissions
Feb 15: editing submissions
Feb 27: revisions complete
March 8: add front/back matter, ads, sign and collect contributor agreement forms
March 15: Karen at UNT Press reads final PDF
March 25: document sent to printers
April/May: we get print copies

Again, from an editor's perspective, it would be best to not delay further. The
responses should not be very long, so I hope that we can stick to January 13th.
Best,
Ben
Benjamin Graf, Ph.D.
University of North Texas
Music History, Theory and Ethnomusicology
Office: MU215


From: Slottow, Stephen <Stephen.Slottow@unt.edu>
Sent: Wednesday, November 27, 2019 10:56 AM
To: Graf, Benjamin <Benjamin.Graf@unt.edu>; Cubero, Diego
<Diego.Cubero@unt.edu>; Bakulina, Ellen <Ellen.Bakulina@unt.edu>
Cc: Walls, Levi <LeviWalls@my.unt.edu>; Chung, Andrew
<Andrew.Chung@unt.edu>; Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: Framing for call for responses to Ewell paper
In that case, it may be well to backdate submissions to—say, November 1st, 2019.
That way we’ll have them before the call is sent out, which would be convenient
for all concerned, I should think. This would create an alternative time line, which
we could utilize as needed.
-sps
Stephen Slottow
Associate Professor of Music Theory
University of North Texas


[Final draft of Ewell CFP, Nov. 26-30, 2020]
Walls, Levi <LeviWalls@my.unt.edu>
Tue, Nov 26, 2019,
3:52 PM
to Benjamin, me, Stephen
Dear all,
Here is a final draft of the CFP. Taking Dr. Cubero's advice, I changed
"Schenkerian community" to "theory community" and I also moved the deadline to
February 1st. When I spoke to Ron, he actually said that it would be okay to extend
it further than January; the timeline is rather flexible for the journals, he said. Let

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 9 of 53 PageID #: 132




me know if we should change anything else. Otherwise, we can decide how to
send it out.
Regards,
Levi Walls
Attachments area


Slottow, Stephen <Stephen.Slottow@unt.edu>
Nov 26, 2019,9:59 PM to Levi, Benjamin, me

Dear Levi,
Those two changes aren't on the "final" draft. When they are, the CFP seems fine.
-sps
Hold off sending out the Call until....

Timothy Jackson <shermanzelechin@gmail.com>
Sat, Nov 30, 2019,
3:17 PM
to Levi, Ellen, Stephen, Benjamin
Dear Levi,
Let's hold off sending out the call with Ewell's remarks until:
1. Everyone has had a chance to read my transcript of Ewell's remarks on
Schenker, which still need some editing.
2. It would be correct to hold off sending out the call until we have had the
opportunity to send it to Rothstein, Rothgeb, and Benjamin and ask them if they
wish to reply.
Ellen can ask Rothstein. I can ask Bill Benjamin, with whom I have a friendly
connection, and Rothgeb, who I do not know personally; however, I believe that he
knows me by reputation.
Best wishes, Tim

Walls, Levi <LeviWalls@my.unt.edu>
Sat, Nov 30, 2019, 10:14 PM
to me

Dear Dr. Jackson,
Sorry for the delay. I’ve been deeply preoccupied in writing. Alright, we’ll wait
to hear from the others and proceed from there! I will respond to all the details
you’ve kindly shared with me about Bach. I’m just a bit behind in research for
papers and going through that final push.
Regards,
Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Saturday, November 30, 2019 1:17:15 PM

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                                                                               JACKSON000078
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 10 of 53 PageID #: 133




To: Walls, Levi <LeviWalls@my.unt.edu>
Cc: Bakulina, Ellen <Ellen.Bakulina@unt.edu>; Stephen Slottow
<sslottow@gmail.com>; Graf, Benjamin <Benjamin.Graf@unt.edu>
Subject: [EXT] Hold off sending out the Call until....


[Discussions about the appropriate time for CFP by JSS,
Dec. 1-4, 2019]
Bakulina, Ellen <Ellen.Bakulina@unt.edu>
Sun, Dec 1, 2019,
6:53 PM
to Diego, Levi, me,
Benjamin, Stephen
Dear All,
I just had a conversation with a colleague about the SMT plenary session (of which
Ewell's talk was part), and he told me what I should have known all along, because
this was announced right before the presentations: that the plenary talks will be
published in Music Theory Spectrum. You all probably knew about this too. I was
just extremely tired on the day of the plenary session (I presented a paper myself
on the same day, earlier, had a 7 a.m. committee meeting, and had to present
another paper the following day) and, I guess, that's why I missed some of the
information.
Does the prospective Spectrum publication means that, perhaps we should wait
with our call for responses until after that publication appears?
All best,
-Ellen

Sun, Dec 1, 2019, 7:51 PM
to Ellen, me, Benjamin, Stephen, Diego
Dr. Bakulina, and all,
That does seem to complicate matters a bit. I had briefly heard something to
that effect shortly after SMT, then promptly forgot all about it.
Regards,
Levi Walls

From: Bakulina, Ellen <Ellen.Bakulina@unt.edu>
Sent: Sunday, December 1, 2019 4:53:37 PM
To: Walls, Levi <LeviWalls@my.unt.edu>; Timothy Jackson
<shermanzelechin@gmail.com>; Graf, Benjamin <Benjamin.Graf@unt.edu>;
Stephen Slottow <sslottow@gmail.com>; Cubero, Diego <Diego.Cubero@unt.edu>
Timothy Jackson <shermanzelechin@gmail.com>
Sun, Dec 1, 2019,
10:06 PM
to Ellen, Levi, Benjamin, Stephen
Dear Ellen, Colleagues,

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 11 of 53 PageID #: 134




All things considered, JSS should go forward with the call as planned. What we are
asking for from scholars are considered responses to the Plenary Session talk by
Ewell as it was delivered and has been posted on line. We have already received
one succinct, but nonetheless important comment from a very prominent scholar
who has watched the video, read the transcript, and would like us to publish his
reply, - and we definitely should publish it. More responses have promised - and
have even been requested. Therefore, if others are interested in responding but
wish to wait for the published version of Ewell's talk, then they are welcome to do
so, and we should be open to publishing additional responses to that version in a
subsequent issue (after the upcoming one) of the Journal of Schenkerian Studies.
Best, Tim

Graf, Benjamin Dec 2, 2019, 9:14 AM
I agree with Tim. We should go forward with the call and be open to publishing more on
this matter in future publications. Ben
Benjamin Graf, Ph.D.
University of North Texas
Graf,
Benjamin <Benjamin.Graf@unt.edu>
Dec 2, 2019, 6:40
PM
to me, Ellen, Levi, Stephen

Graf, Benjamin <Benjamin.Graf@unt.edu>
Dec 2, 2019, 6:40 PM
to me, Ellen, Levi, Stephen
Tim (CC: Stephen, Ellen, and Levi),

Levi and I spoke briefly today about the call, and we both agreed that we don't
want the call to 1) be too lengthy or 2) "lead" contributors to comment on only
excerpted quotations instead of encouraging them to digest the entire paper (then
draft responses as they feel appropriate).
Perhaps the official call can be shorter, but you could send some excerpts and
lengthier thoughts to your close colleagues in addition to the formal CFP.
Let me know your thoughts if you have a chance. We are, of course, flexible!
Best,
Ben
Benjamin Graf, Ph.D.
University of North Texas
Music History, Theory and Ethnomusicology
Office: MU215

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Sunday, December 1, 2019 10:06 PM
To: Bakulina, Ellen <Ellen.Bakulina@unt.edu>

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                                                                            JACKSON000080
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 12 of 53 PageID #: 135




Cc: Walls, Levi <LeviWalls@my.unt.edu>; Graf, Benjamin
<Benjamin.Graf@unt.edu>; Stephen Slottow <sslottow@gmail.com>
Timothy Jackson <shermanzelechin@gmail.com>
Dec 3, 2019, 9:22 AM
to Diego, Andrew, Benjamin, Ellen, Levi, Stephen
Dear Ben, Colleagues,
We still have to address the issue of why the JSS in particular is asking for
responses. I thought that Andrew's point was very well taken, namely that we don't
want to be seen to be disagreeing with Ewell's broader point of advocating
inclusion of different ethnicities in the discipline of music theory, which I assume
that we all support and is not contentious, at least here, but rather focus on his
central example of racism in music theory, namely on Schenker, Schenkerian
scholars, and Schenkerian analysis. As you know, independently I came to exactly
the same conclusion as Andrew. We need to judge the call carefully, and make it
clear that Ewell's hypothesis of Schenkerian racism is the primary focus.
To address both issues of reducing the length of the general call, and placing the
focus squarely on Ewell's attack on Schenker, Schenkerian scholars, and the
Schenkerian approach as racist, rather than including ALL of Ewell's comments, I
think that we ought to focus on quoting just a few of his representative
statements. Therefore I would propose citing the following short quote in the call:
"The best example through which to examine our white frame is through Heinrich
Schenker, a fervent racist, whose racism undoubtedly influenced his music theory,
yet it gets whitewashed for general consumption......In his voluminous writings,
Schenker often mentions white and black as modifiers for human races.....As with
the inequality of races, Schenker believed in the inequality of tones. Here we begin
to see how Schenker's racism pervaded his music theories. In short, neither racial
classes, nor pitch classes, were equal in Schenker's theories. He uses the same
language to express these beliefs.....his sentiment is clear: blacks must be
controlled by whites. Similarly, Schenker believed notes from the fundamental
structure must control other notes."

We can then solicit responses.

I think that we can omit Ewell's "conspiracy theory" that a group of Schenkerian
scholars whitewashed Schenker's racism from the call, since this issue will be
dealt with directly by scholars Ewell accuses. For example, Nicholas Cook from
Cambridge has agreed to send us a response.
I would, however, send the complete transcript of Ewell's remarks on Schenker to
both Drabkin and Bent since Ewell's case is largely built on comments in the
letters and diary quoted from their SDO. The same for Rothstein, since he is also
included in the group of Schenkerian scholars critiqued. Ben and Levi: please cc.
me and Stephen on your letters to Drabkin and Bent. You should send them now, if
you have not already done so.
I have already written to John Rothgeb. My understanding is that he is pretty
reclusive, so I am unsure whether he will respond. I do have his cell phone number,

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                                                                             JACKSON000081
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 13 of 53 PageID #: 136




so that if I don't hear from him in a few days or so, I will also try calling him.
Ellen will let us know when Rothstein replies.
It is a shame that Allen and Oster cannot respond. I know that Allen would.
However, Allen did give me a copy of his correspondence with Oster, and I will
check it to see if the issue of moving certain paragraphs into the appendices came
up. I recall that it did. If so, I see no reason why we should not publish this part of
the correspondence, since it will document the reasons for the decision.
With best wishes,
Tim

Stephen Slottow <sslottow@gmail.com>
Dec 3, 2019,
10:06 AM
to me
Dear Tim,
Who holds the rights for the Forte's correspondence with Oster? We may want to
find out before publishing letters verbatim. I think that we may be allowed to
publish small excerpts without permission, but I don't really know. Perhaps it would
be best to check with Wayne Alpern or someone else who knows copyright law?
Also, I tried to reach Rothgeb re my sequence article but was unsuccessful.
Evidently the email addresses I got from Carl and Charles aren't good any longer,
or he just didn't respond. Since you have his phone number, I'd try that first.
-sps

Timothy Jackson <shermanzelechin@gmail.com>
Dec 3, 2019, 11:34 AM
to Stephen
Dear Stephen,
I have a letter from Allen to the effect that I have the right to publish anything that
I want to from his Nachlass. He gave this letter to me long before he got really
sick. He was concerned about being misrepresented.
Please keep this next item private. I have been in touch with Madeleine, pointing
out my disgust that Ewell, a former student, accused Allen of "whitewashing"
Schenker's racism. She confronted a number of other former students about it,
who reassured her, "don't worry, everything is just fine." Madeleine, who is very
sharp, sees through it, and does not concur. She agrees with me and she wishes
me to respond - properly - and in due course. She will not raise any objections to
us publishing anything that Allen gave me. I do need to dig out the
correspondence and go through it. I think that I also made a copy for you. You
might look through it as well.
Best, Tim

Graf, Benjamin <Benjamin.Graf@unt.edu>
Dec 4, 2019, 9:26 AM
to Diego, Andrew,
Ellen, Levi, me, Stephen

                                                                                           12

                                                                                 JACKSON000082
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 14 of 53 PageID #: 137




Tim and colleagues,
That sounds good to me! I am on board.
Ben
Benjamin Graf, Ph.D.
University of North Texas
Music History, Theory and Ethnomusicology
Office: MU215


[Jackson corresponded with Nicolas Cooke, David Beach,
Allen Cadwallader, Boyd Pomeroy, and Jack Boss.]
Jackson sounded out authorities on Schenkerian analysis to see what they
thought about Ewell’s presentation, and whether they wanted to respond. But
then, since the negative replies received seemed too one-sided, Jackson decided
to ask UNT colleagues if they would consider a Symposium with both pros. and
cons. We worked on the “Call for Papers” in the theory area, came up with a call,
and sent it out. Due to delays in getting the CFP posted the time period was short,
just two weeks, but we gave extensions until the beginning of March to all who
indicated that they wanted to contribute.

[Initial Efforts to send CFP through to the SMT list on
Dec. 19, 2020]
schenker
Thu 12/19/2019 4:42 PM
To: Jackson, Timothy; Slottow, Stephen
Cc: Graf, Benjamin
JSS CFP_ Philip Ewell responses (1) (2).docx
17 KB
Hi all,
Dr. Graf and I are both having trouble getting this call through to the SMT list.
Neither of our emails seem to be accepted. Could one of you please try with your
email? Thanks!
Regards,
Levi Walls

[Journal of Schenkerian Studies vol. 12 (2019) Call for
Papers]
The SMT plenary presentation given by Philip Ewell, "Music Theory's White Racial
Frame," has inspired a good deal of debate within the theory community,
especially regarding the possible relationship between Schenkerian methodology
and the white racial frame (as suggested in the following quote from Ewell):
"The best example through which to examine our white frame is through Heinrich

                                                                                      13

                                                                            JACKSON000083
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 15 of 53 PageID #: 138




Schenker, a fervent racist, whose racism undoubtedly influenced his music theory,
yet it gets whitewashed for general consumption......In his voluminous writings,
Schenker often mentions white and black as modifiers for human races.....As with
the inequality of races, Schenker believed in the inequality of tones. Here we begin
to see how Schenker's racism pervaded his music theories. In short, neither racial
classes, nor pitch classes, were equal in Schenker's theories. He uses the same
language to express these beliefs.....his sentiment is clear: blacks must be
controlled by whites. Similarly, Schenker believed notes from the fundamental
structure must control other notes."
As a journal dedicated to Schenkerian studies, we find it important to foster
discussion on these issues. As part of volume 12, we invite interested parties to
submit essay responses to Ewell's paper. The Journal of Schenkerian Studies
takes no official stance on the issues addressed by Ewell, and we hope to publish
a variety of thoughts and perspectives. Submissions must adhere to the following
guidelines:
1. Essays should be 1,000 to 3,000 words in length.
2. In order to leave sufficient time for editorial work, submissions must observe a
strict deadline of January 13, 2020.
Any questions or concerns regarding submissions may be directed at the editors
(Schenker@unt.edu).
Please refer to Ewell’s abstract, as well as links to the presentation slides and
video recording (listed below):
Music Theory’s White Racial Frame
Philip Ewell (Hunter College and The Graduate Center, CUNY)
For over twenty years music theory has tried to diversify with respect to race, yet
the field today remains remarkably white. SMT’s most recent report on
demographics shows that 90.4 percent of full-time employees in music theory are
white, while 93.9 percent of associate/full professors are. Aside from this literal
whiteness, there exists a figurative and even more deep-seated whiteness in
music theory. This is the whiteness—which manifests itself in the composers we
choose to represent our field inside and outside of the classroom, and in the
theorists that we elevate to the top of our discipline—that one must practice,
regardless of one’s own personal racial identity, in order to call oneself a music
theorist. Thus, for example, I am a black person, but I am also a practitioner of
“white music theory.” In this presentation, a critical-race examination of the field of
music theory, I try to come to terms with music theory’s whiteness, both literal and
figurative. By drawing on the writings of sociologists Joe Feagin and Eduardo
Bonilla-Silva, among others, I posit that there exists a “white racial frame” (Feagin)
in music theory that is structural and institutionalized. Further, I highlight certain
racialized structures which “exist because they benefit members of the dominant
white race” (Bonilla-Silva). Ultimately, I argue that only through a deframing and
reframing of this white racial frame will we begin to see positive racial changes in
music theory.
PowerPoint slides: http://philipewell.com/wp-content/uploads/2019/11/SMTPlenary-
Slides.pdf
Video recording: https://vimeo.com/372726003

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                                                                               JACKSON000084
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 16 of 53 PageID #: 139




[CALL FOR PAPERS originally sent to the whole SMT list
network on Dec. 17, 2019]
From: schenker
Sent: Tuesday, December 17, 2019 11:03:17 PM
To: smt-announce@lists.societymusictheory.org <smtannounce@
lists.societymusictheory.org>
Subject: Journal of Schenkerian Studies CFP
Greetings,
Please find attached a CFP from the Journal of Schenkerian Studies, to be
distributed as soon as possible. Please let us know if you have any questions or
concerns. Thanks so much!
Regards,
Levi Walls
Assistant Editor, JSS

[CALL FOR PAPERS sent to all the members of SMT via
SMT mailing list on Dec. 31, 2019]
From: Bob Kosovsky kos@panix.com
Subject: Fwd: [Smt-Announce] CFP: Journal of Schenkerian Studies
Date: December 31, 2019 at 8:06 PM
To: smt-announce@societymusictheory.org
Cc: Levi Walls LeviWalls@my.unt.edu
Forwarded message from: Levi Walls <LeviWalls@my.unt.edu>
------------------------------------------
Journal of Schenkerian Studies vol. 12 (2019) Call for Papers
The SMT plenary presentation given by Philip Ewell, "Music Theory's White Racial
Frame," has inspired a good deal of debate within the theory community,
especially regarding the possible relationship between Schenkerian methodology
and the white racial frame (as suggested in the following quote from Ewell):
"The best example through which to examine our white frame is through Heinrich
Schenker, a fervent racist, whose racism undoubtedly influenced his music theory,
yet it gets whitewashed for general consumption......In his voluminous writings,
Schenker often mentions white and black as modifiers for human races.....As with
the inequality of races, Schenker believed in the inequality of tones. Here we begin
to see how Schenker's racism pervaded his music theories. In short, neither racial
classes, nor pitch classes, were equal in Schenker's theories. He uses the same
language to express these beliefs.....his sentiment is clear: blacks must be
controlled by whites. Similarly, Schenker believed notes from the fundamental
structure must control other notes."
As a journal dedicated to Schenkerian studies, we find it important to
foster discussion on these issues. As part of volume 12, we invite interested
parties to submit essay responses to Ewell's paper. The Journal of Schenkerian
Studies takes no official stance on the issues addressed by Ewell, and we hope to
publish a variety of thoughts and perspectives. Submissions must adhere to the

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                                                                             JACKSON000085
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 17 of 53 PageID #: 140




following guidelines:
Essays should be 1,000 to 3,000 words in length.
In order to leave sufficient time for editorial work, submissions must
observe a strict deadline of January 20, 2020.
Any questions or concerns regarding submissions may be directed at the editors
(Schenker@unt.edu).
Please refer to Ewell’s abstract, as well as links to the presentation slides and
video recording (listed below):
Music Theory’s White Racial Frame
Philip Ewell (Hunter College and The Graduate Center, CUNY)
For over twenty years music theory has tried to diversify with respect to race, yet
the field today remains remarkably white. SMT’s most recent report on
demographics shows that 90.4 percent of full-time employees in music theory are
white, while 93.9 percent of associate/full professors
are. Aside from this literal whiteness, there exists a figurative and even more
deep-seated whiteness in music theory. This is the whiteness—which manifests
itself in the composers we choose to represent our field inside and outside of the
classroom, and in the theorists that we elevate to the top of our discipline—that
one must practice, regardless of one’s own personal racial identity, in order to call
oneself a music theorist. Thus, for example, I am a black person, but I am also a
practitioner of “white music theory.” In this presentation, a critical-race examination of
the field of music theory, I try to come to terms with music theory’s
whiteness, both literal and figurative. By drawing on the writings of sociologists
Joe Feagin and Eduardo Bonilla-Silva, among others, I posit that there exists a
“white racial frame” (Feagin) in music theory that is structural and
institutionalized. Further, I highlight certain racialized structures which “exist
because they benefit members of the dominant white race” (Bonilla-Silva).
Ultimately, I argue that only through a deframing and reframing of this white racial frame
will we begin to see positive racial changes in music theory.
[Footnote: Coined by sociologist Joe Feagin in 2006, the term “white racial frame”
refers to the “broad worldview [that is] essential to the routine legitimation,
scripting, and maintenance of systemic racism in the United States.”]
PowerPoint slides: http://philipewell.com/wp-content/uploads/2019/11/SMTPlenary-
Slides.pdf
Video recording: https://vimeo.com/372726003
_______________________________________________
Smt-announce mailing list
Smt-announce@lists.societymusictheory.org http://lists.societymusictheory.org/
listinfo.cgi/smt-announce-societymusictheory.org




                                                                                        16

                                                                              JACKSON000086
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 18 of 53 PageID #: 141




[Should anti-Schenker pro-Ewell responses be published?]

 Walls, Levi <LeviWalls@my.unt.edu>

                                                                             Thu, Feb 13,
                                                                                10:54 AM
 to me, benjamingraf@unt.edu


Dear Dr. Jackson (with Dr. Graf in copy; Dr. SloCow not copied because he asked to be recused),

      Dr. Graf and I were wondering what your thoughts were concerning the submissions
from Clark, Beaudoin, and LeC. As you may have seen, these responses are (at least) implicitly
anQ-Schenkerian. Despite disagreeing with much of what they have to say, Dr. Graf and I think it
is important to publish these responses along with the others that we have received (Wiener,
Pomeroy, Wen, Cadwallader, etc.). We wouldn't want the JSS's account of the debate to appear
one-sided, and having a mixture of opinions will lend more credibility to those responses that
we do agree with. Just want to check in with you before we proceed!

      And thank you for all your Qme and eﬀort in geYng responses from prominent names in
the ﬁeld!

Regards,

           Levi Walls


I agreed and they were published.

[Correspondence with Jack Boss, Levi, Jackson, with
Slottow, and Graf on copy, March 9-10, 2020]
From: schenker <schenker@unt.edu>
Date: Monday, March 9, 2020 at 11:49 PM
To: Jack Boss <jfboss@uoregon.edu>
Subject: Ewell Response Final Proof
Hi Jack,
I have the final proof of your response for you. Please let me know if anything
needs to change. I assumed you wanted both images to be placed together for
ease of comparison. I'll be sending final proofs to UNT press by the end of the day
on Tuesday (3/10), but there will be a window of a few days to make changes if
necessary. Thanks!
Regards,

                                                                                              17

                                                                                   JACKSON000087
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 19 of 53 PageID #: 142




Levi Walls
Assistant Editor, JSS

Mar 10, 2020, 2:07 AM
Jack Boss <jfboss@uoregon.edu>
to schenker, me
Hi Levi (and Tim). The response looks good. The only issue I have is that
Songwriters Guild of America (the copyright administrator for the Ann Ronell song)
has not yet responded to me with permission to reproduce the Tatum score
excerpt (it’s been about a week). So we could get into trouble for reprinting 11
measures without getting permission. Do we want to risk that? I suppose it might
be possible to get around it by resetting the score (redoing it in Finale or Sibelius),
since there are a couple of transcriptions out there. Or we could leave out the
score and just print my graph.
Jack Boss
Professor of Music Theory and Composition
Chair, SMT Publications Committee
School of Music and Dance
1225 University of Oregon
Eugene, OR 97403-1225
email: jfboss@uoregon.edu
phone: 541-556-6139
fax: 541-346-0723

Tue, Mar 10, 2:19 AM
schenker <schenker@unt.edu>
to Jack, me
Hi again,
Sure. If you think resetting the score would be acceptable (I imagine it will), I
could do that and replace the image with our own. I'll send a new version in a bit.
Regards,
Levi Walls

Tue, Mar 10, 4:12 AM
schenker <schenker@unt.edu>
to Jack, me
Dear Jack,
Here is the updated version, with a custom transcription of the Tatum score.
Let me know if this looks alright. Thanks!
Regards,
Levi Walls

Mar 10, 2020, 9:20 AM
Timothy Jackson <shermanzelechin@gmail.com>
to Levi, Benjamin, Stephen, Jack

                                                                                          18

                                                                                JACKSON000088
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 20 of 53 PageID #: 143




Dear Jack, with Colleagues on copy,
I think that it looks really good the way it is, and now it is possible to follow your
analysis with the music. Would it be possible for you to phone the Songwriters
Guild of America and check with them to see if it is OK? I have found that
sometimes this is the best way to deal with issues like this, especially given time
constraints.
Otherwise, I am unsure of the current rules of "fair use," but there is a certain
amount of quotation allowed. Then the question would be exactly how much can
we reprint? My guess - but it is only a guess - is that this short quotation would be
OK. But perhaps this can be checked.
Tim




[Final Addition - correspondence between Jackson and
Levi Walls, March 12, 2020]
Final addition
Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 9:19 PM
to Levi
Dear Levi,
I am sorry to burden you with this, but will do so anyway! I hope that it might still
be possible to make one last addition to my conclusion without throwing the train
off the track. Could you please insert the few sentences indicated in red in the
final paragraph, and one last footnote. I think that the point is significantly
important to try to make it, albeit just before the train leaves the station!
Although we now live in an era of “alternative facts,” I believe
that demagoguery and intellectual dishonesty must not go unanswered. We have
seen what occurs when this happens on a massive scale, with catastrophic results
in the 20th century, and now again in our own time. I was not present
when Ewell spoke at the SMT plenary session, but I heard about the standing
ovation he received, which, to my mind, is just as worrying as his talk itself. The
warm reception, the applause that Ewell earned there, is as outrageous and
dangerous as the contents of his speech, and bespeaks the sorry
state of the field of music theory generally these days. Schenkerians of the
different pedagogical schools have always “decoupled” ideological claims from
music theoretical approaches. Furthermore, not only did Schenker's own ideas
about politics and race evolve considerably (as I have shown), so did his analytical
methodology (as Pastille, Bent, and others have amply documented). Looking
back, at least two generations of Schenkerians have explored and critiqued the
evolutions of both aspects. For example, what a tremendous transformation there
is between Schenker's early and later ideas about just the particular issue of
organicism; the same holds true for his views of race, which also changed
dramatically![i] Ewell assures us that Schenker would have objected to
"decoupling" his philosophical, historical, political, racial, and other ideas from his

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                                                                                JACKSON000089
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 21 of 53 PageID #: 144




music theory. But is this claim really as self-evident as it might initially seem, since
the question then becomes: which philosophical-historical-political ideas cannot
be disassociated from which stages of music-theoretical development, given the
very significant advances in both dimensions? Therefore, even Schenker himself
must have recognized, especially late in his career, not only the possibility, but the
absolute necessity of such decoupling. Some would like to demolish the classical
canon of “Bach-to-Brahms,” falsely claiming it to be exclusively a “white male”
elitist meritocracy, and arguing that we should replace it with putatively egalitarian
pop, hip-hop, punk, and world musics. This is a mischaracterization because the
great tradition of classical music includes Black, Jewish, and female composers,
and remains, as Schenker ultimately recognized, an “elitism of the hearing of the
spirit, not of race.” A colleague recently wondered - given the apparent current
lack of focus on "the notes" of complete pieces within the Bach-to-Brahms canon
(unfortunately, also a concept associated with Schenkerian analysis) - if we music
theorists were not now metamorphosing into non-theorists. In other words, by
divorcing ourselves from the detailed investigation of the structure of pieces
within the canon - which now, because deemed elitist, becomes obsolete - we will
all wake up one morning soon, just like the protagonist of Kafka's Metamorphosis,
who found himself a giant beetle. But, perhaps, just as Schenker finally saw the
light, albeit late in life, we music theorists will eventually also come to our senses.
In all cases, better late than never.
[i] William Pastille, "Heinrich Schenker, Anti-Organicist,” 19th-Century Music, Vol.
8, No. 1 (Summer, 1984), pp. 29-36.


Walls, Levi <LeviWalls@my.unt.edu>
Thu, Mar 12, 9:39 PM
to me
Dear Dr. Jackson,
No worries, I still have to put the page numbers for Slottow and Wiener into
your response, anyway. As soon as I have Dr. Slottow's response, I will know the
page numbers for sure, and will be able to cite them in yours. So I will add these
sentences while I am at it.
Regards,
Levi Walls
From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Thursday, March 12, 2020 7:19 PM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: [EXT] Final addition
...
[Message clipped] View entire message
Walls, Levi <LeviWalls@my.unt.edu>
Thu, Mar 12, 10:03 PM to me
I've added the new sentences. I'm just waiting for those page numbers now. As
soon as I get Dr. Slottow's response, I'll add the page numbers for Slottow and
Wiener. As you previously specified I'll format it like so: "Since Stephen Slottow

                                                                                           20

                                                                                 JACKSON000090
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 22 of 53 PageID #: 145




addresses that issue (pp. x-x)..." "Furthermore, as Barry Wiener shows (pp. xx)..."
- Levi Walls



Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 10:15PM
to Levi
Great!
By the way, I added you to my Skype contacts! So that way, we can talk if needed.
Best, Tim



[Levi’s Introduction - Revising Process, March 9-10, 2020]
Symposium intro
Inbox x
Walls, Levi <LeviWalls@my.unt.edu>
Mon, Mar 9, 10:54 PM
to me, Stephen, Benjamin
Dear Drs. Jackson and Slottow,
Here is the intro that Dr. Graf and I put together. Let us know what you think!
Short and sweet, as I said. Did Wen ever send a response? I think that is the only
one we are missing.
Regards,
Levi Walls
Attachments area
Preview attachment Ewell intro.pdf
Ewell intro.pdf
Timothy Jackson Tue, Mar 10, 9:07 AM
Dear Levi and Ben,
It looks very good to me. Eric Wen wrote to me that he just could not come up with the
right words, so that we do not have a response from him


[Levi’s Introduction - Critiqued by Slottow and Revised by
all Editors on March 12, 2020]
Levi's introduction
Stephen Slottow Thu, Mar 12, 1:03 AM
As we discussed before, Levi, for all his virtues, is not a good writer of English prose.
Most of that introduction is embarrassingly pretentious and sophomoric.

Walls, Levi <LeviWalls@my.unt.edu>
Mon, Mar 9, 1:45 PM
to Stephen, Benjamin, me

                                                                                            21

                                                                               JACKSON000091
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 23 of 53 PageID #: 146




Hi all,
Alright, thanks! Dr. Jackson, we'll get a final typeset version of the response to
you later today. Dr. Slottow, we'll add whatever alteration you wish to make, so just
send the new version later today. On the subject of the intro, we are writing it and
will send it to both of you today or tomorrow. Dr. Graf and I feel that it is best to
keep it short and sweet, as we wish to let the various responses speak for
themselves. But it won't go to print without your input. Thanks!
Regards,
Levi Walls

Subject: Re: [EXT] Final version
Symposium Bibliography, March 11, 2020
Symposium bibliography
Timothy Jackson <shermanzelechin@gmail.com>
Wed, Mar 11, 6:54 PM
to Levi, Stephen, Benjamin

Dear Levi, with Ben and Stephen on copy,
You have done an excellent job with the bibliography. The Politics of the Urlinie in
Schenker’s….I think Urlinie should be italicized. It is still a foreign word even though
in common usage in music theory. paperson, la. 2017. A Third University Is Possible.
Minneapolis: University of Minnesota Press. Something is wrong here. Paperson is the
last name, is there a first name? Also, what does 1a refer to? Pellegrin, Rich. Is it
Richard or Rich? Could you please add these items:….
Pellegrin, Rich. Is it Richard or Rich?

Timothy Jackson

Wed, Mar 11, 8:31 PM
OK. Got it!

Slottow, Stephen <Stephen.Slottow@unt.edu>
Wed, Mar 11, 8:48 PM
to Benjamin, Levi, me
Levi,
I'm attaching a short list of items that have either been left out or that need
alteration (in my opinion).
-sps
Slottow, Stephen <Stephen.Slottow@unt.edu>
Wed, Mar 11, 8:50 PM
to Levi, Benjamin, me
I don't know, but in the introduction I'd mention that it is a combined
bibliography for all the articles.
-sps

                                                                                            22

                                                                                  JACKSON000092
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 24 of 53 PageID #: 147




Agree.
ReplyReply
allForward
[More Final Editing on March 10 and 11, 2020 – Jackson accepted
colleagues’ corrections, including Ben and Levi]
Ewell Response
final proof
Inbox x
schenker <schenker@unt.edu>
Tue, Mar 10, 6:01 AM
to me
Dear Dr. Jackson,
Please find attached the typesetting of your response. Thanks!
Regards,
Levi Walls
Attachments area

Timothy Jackson <shermanzelechin@gmail.com>
Tue, Mar 10, 9:58AM
to Stephen, Benjamin, Levi, schenker

Dear Colleagues,
Just a few small corrections to my response listed below.

The more I consider it, the less sure I am whether to capitalize "Classical" throughout. I
understand the reader’s concern, but I believe it could be either way. What do you
think?

Since Jack Boss refers to my comment by page numbers, I should probably do the
same. Do you agree? Since Stephen Slottow addresses that issue (see pp. ) as Barry
Wiener shows (see pp. ) Given his student Hans Weisse's (please add the words in bold
since this is the first mention of Weisse).
Now, "With prescience, [cut: Schenker’s student Hans] Weisse decided to emigrate to
America already in the late 1920s because of anti-Semitism.” "Furtwängler appeared,
and [cut: Schenker’s student] Weisse"
Footnote 1, ” The AtlanticCOMMA December 5, 2016, Ewell implies that the passages
that Oster and Allen [replace with Forte] exiled to appendices «the Jews» Why not
ordinary quotation marks?
Footnote 4. In Dennis HerdAPOSTROPHEs
I think that is it!
Great proofs! Bravo!
Tim


                                                                                         23

                                                                              JACKSON000093
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 25 of 53 PageID #: 148




Stephen Slottow <sslottow@gmail.com>
Tue, Mar 10, 10:38AM
to schenker, Benjamin, Levi, me
While we're doing corrections, I'll add that, clever though it be, comparing
ethnomusicologists to giant beatles could be taken as both
unfortunate and uncollegial. I'll get my corrections to you by tomorrow morning.
-sps

Timothy Jackson <shermanzelechin@gmail.com>
Tue, Mar 10, 10:46 AM
to Stephen, schenker, Benjamin, Levi
My dear Stephen,
Not beatles but beetles.
But just one beetle. LOL.
Best, Tim


Walls, Levi <LeviWalls@my.unt.edu>
Tue, Mar 10, 11:18 AM to me, Stephen, schenker
, Benjamin

From: Timothy Jackson
<shermanzelechin@gmail.com>
Sent: Tuesday, March 10,
2020 8:46 AM
To: Stephen Slottow
<sslottow@gmail.com>
Cc: schenker <schenker@unt.edu>; Graf, Benjamin <Benjamin.Graf@unt.edu>; Walls,
Levi

Stephen Slottow <sslottow@gmail.com>
Tue, Mar 10, 11:25AM
to me
Thanks for the correction. But my observation still stands. It is up to you, however.
-sps


Timothy Jackson <shermanzelechin@gmail.com>
Tue, Mar 10, 11:26 AM
to Stephen
I would like to keep it that way. But perhaps it is best understood as a pun.

Stephen Slottow <sslottow@gmail.com>
Tue, Mar 10, 11:34AM
to me

                                                                                          24

                                                                                JACKSON000094
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 26 of 53 PageID #: 149




OK. But how could it be understood as a pun? (P.S. I can't find the final version any
more. Would you send me the last par.?)


Stephen Slottow <sslottow@gmail.com>
Tue, Mar 10, 12:31 PM
to Benjamin, Levi, me
I don't see a pun. I see a clever analogy between Kafka's beetle and
ethnomusicologists. I like it, but it ain't diplomatic and, in these hysterical times, could be
seized upon as an example of intolerance and chauvinism by those who are looking for
such examples (Ewell, for instance). Most of the response is excellent and valuable. Is it
good to end it in this way?
-sps



Graf@unt.edu>
Tue, Mar 10, 12:44PM
to Stephen, me, Levi
Colleagues,
I second Stephen’s concerns about that portion. Tim, you make an excellent point with
the beetle, but I admit that when I read it I was also a bit hesitant on what others might
say/cite later.
Ben
Benjamin Graf, Ph.D.
University of North Texas
Music History, Theory and Ethnomusicology
Office: MU215


Timothy Jackson <shermanzelechin@gmail.com>
Tue, Mar 10, 2:10 PM
to Stephen, Benjamin, Levi

OK, here is a thought. Just cut the two words "as ethnomusicologists.” That preserves
the sense of my metaphor, but makes it hit the intended target, which is not
ethnomusicologists, but music theorists: In other words, by divorcing ourselves from the
detailed investigation of the structure of pieces within the canon - which now, because
deemed elitist, becomes obsolete – we will all wake up one morning soon, just like the
protagonist of Kafka's Metamorphosis, who found himself a giant beetle. I think that
solves the problem.
Best, Tim


Walls, Levi <LeviWalls@my.unt.edu>
Tue, Mar 10, 2:40PM

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 27 of 53 PageID #: 150




to Stephen, me, Benjamin
Alright, will do!
- Levi Walls


Timothy Jackson <shermanzelechin@gmail.com>
Tue, Mar 10, 2:50 PM
to Stephen, Levi, Benjamin
[Another professor] just sent me some detailed comments. I need some time to review
them. They are mostly small nuances. I will let you know by this evening what, if
anything, I need to change or modify.
Best, Tim

Slottow, Stephen <Stephen.Slottow@unt.edu>
Tue, Mar 10, 3:17PM
to me
Not meaning to be difficult, I'm sure, but I don't think it does. It doesn't make sense as
stands. "by divorcing ourselves from the…we will all wake up one morning soon, just
like the protagonist…" Well, of course, if we’re not dead or in a coma, we'll all wake up
one morning soon. But that’s not news. You're just saying that we'll wake up in the
morning. That question is wake up as what or to what? Before it made sense—"as
ethnomusicologists."

Now it doesn't. Wake up to a world in which…? Wake up as a...? Wake up as..." You
can't just what or to what? Before it made sense—"as ethnomusicologists."
Now it doesn't. Wake up to a world in which…? Wake up as a...? Wake up as..." You
can't just remove “ethnomusicologists," you have to replace it with something, or
restructure the sentence, or abandon the metaphor. It doesn't work as stands. Before, it
did work, but was politically...inadvisable?
-sps


Timothy Jackson <shermanzelechin@gmail.com>
Tue, Mar 10, 7:43 PM
to Stephen
I am thinking what to do about it.



Walls,Levi <LeviWalls@my.unt.edu>
Wed, Mar 11, 9:01AM
to me
Dear Dr. Jackson,
I have attached the new version of your response. I went ahead and
uncapitalized "classical." I'll send the combined bibliography to you and Dr.
Slottow in a bit. Thanks!

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 28 of 53 PageID #: 151




Regards,
Levi Walls


Timothy Jackson <shermanzelechin@gmail.com>
Wed, Mar 11, 9:18AM
to Levi
Dear Levi,
Can you please insert the page number references in my response to Stephen Slottow's
and Barry Wiener's responses respectively. I will keep reading.
Walls, Levi <LeviWalls@my.unt.edu>
Wed, Mar 11, 9:20 AM
to me
Dear Dr. Jackson,
Oh, I forgot to mention. I'm waiting for Dr. Slottow to send me his updated version.
Until then, I can't know the page numbers of his or anyone after for sure. I will
make sure to put those in once I get that.
Regards,
Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Wednesday, March 11, 2020 7:18 AM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: Re: [EXT] Re: Final version
Timothy Jackson Wed, Mar 11, 9:22 AM
OK. I see. But there are other corrections still missing. I will send shortly.

Walls, Levi Wed, Mar 11, 9:30 AM
Ah, sorry about that. Along with those corrections that you send, I will make sure to
italicize appropriate titles in the footnotes. Indesign likes to unitalicize.

Walls, Levi Wed, Mar 11, 9:42 AM
And I fixed footnote 2, which also mysteriously disappeared.


Timothy Jackson Wed, Mar 11, 11:23 AM
Dear Levi, Going through it line by line, I found that some of my earlier corrections were
not made, and I have added one or two more corrections.

Walls, Levi Wed, Mar 11, 11:34 AM
Dear Dr. Jackson,
Ah, right. Completely forgot those earlier corrections. I'll go through and address all of
these things. Sorry, somewhat poor showing from me



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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 29 of 53 PageID #: 152




Timothy Jackson <shermanzelechin@gmail.com>
Mar 11, 2020, 11:35 AM
to Levi
Dear Levi,
I am not worried. I know that you are capable. We are all human, unfortunately.
Tim


Walls, Levi <LeviWalls@my.unt.edu>
Wed, Mar 11, 2:47PM
to me
Dear Dr. Jackson,
Last thing before I send it back. In your new footnote, it looks like some of the
things are in bold, but it's hard to tell with the red font. Did you wanted bolded
phrases? If so, could you resend in black text? Thanks!
Regards,
Levi Walls


Walls, Levi Mar 11, 2020, 6:32 PM
Thanks. Alright, I have it written down at my desk and I'll do it as soon as Dr. Slottow's
response comes in. I'm going to send you an updated bibliography.


On Feb 5, 2020, at 10:30 AM, schenker wrote:

Hi Barry, CongratulaQons! We like your response and would be happy to include it in the upcoming JSS,
with the possibility of some revisions. We've included some comments on your response that you may
wish to address. It is not a "must change" situaQon, but merely some suggested things to think about.
We were also thinking that you might do more to structure your arguments in order to more easily guide
the reader. Perhaps some transiQon sentences and a clearer statement in the introducQon of the issues
you seek to address. With the short Qme requirement, combined with the 3000 work limit, it's
understandable that those conveniences weren't the priority. We can give you a week to make any
changes you think appropriate (by midnight on Feb 12) and, of course, feel free to email me about
quesQons/concerns you may have. Don't worry about the 3000 limit as you make any adjustments, just
try to keep it under or near 4000 and it will be ﬁne. Thanks very much! Regards, Levi Walls

From: schenker schenker@unt.edu Subject: Re: [EXT] Ewell arQcle quesQons Date: February 9, 2020 at
12:06 PM To: Barry Wiener bwiener8@icloud.com Cc: Graf, Benjamin Benjamin.Graf@unt.edu, Timothy
Jackson shermanzelechin@gmail.com

Hi Barry, Thanks for your email! No, we’d like you to be free to address any topics that you feel are
germane to the discussion. I forgot to menQon before that you may decide to tweak the Qtle of the
response (Philip Ewell’s White Racial Frame). From our discussions with various people, we’ve noQced a
misconcepQon that the term “white racial frame” is a novel concept invented by Ewell. This confusion is
due in part to Ewell’s failure to clarify where he was deriving his terminology. But it’s a term in use within
criQcal race and gender studies that was coined by sociologist Joe Feagin in 2006. You’re likely already
aware of the term’s history, but considering the apparent misconcepQon, it may be worthwhile to

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                                                                                               JACKSON000098
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 30 of 53 PageID #: 153



rethink the Qtle. But you can also keep it as is, if you prefer. Thanks! Regards, Levi Walls From: Barry
Wiener Sent: Friday, February 7, 2020 5:27:02 PM To: schenker Subject: Re: [EXT] Ewell arQcle quesQons
Dear Levi and Benjamin, I thought some of your suggesQons were very helpful. I just was concerned, not
that you were trying to censor me, but that you feel that professional consideraQons require that you set
limits on the topics addressed in the responses. I’ll get back to you in a few days. Thanks, Barry On Feb 6,
2020, at 7:47 AM, schenker




[Editing Symposium Introduction among the board
advisory, March 12, 2020]

Slottow, Stephen <Stephen.Slottow@unt.edu>
Thu, Mar 12, 12:56 AM
to Benjamin, Levi,
me

Dear Levi and Ben,
I just looked at the introduction, and have a few comments, as follows. Most of
these are my opinions, and the rest of you may differ, of course.
-Don't entitle my contribution "Ewell Response"--that's just the name of the file.
Call it "An Initial Response to Philip Ewell."
-My overall reaction to the introduction is that far too much of it comes off as self
consciously pompous and, frankly, sophomoric. I think it needs to have the rosy
foggy vistas trimmed and become more sober and direct. For instance:
-"Symposium"? Well, I guess that's OK, but why not simply call it "Responses to
Philip....". Isn't that more accurate and less hifalutin'?
-I don't really like "is proud." How about "is pleased"?
-"Indeed, academic discourse is the lifeblood of philosophical inquiry...? That's
exactly the kind of thing I'm talking about. It's inflated and pretentious. First, cut
"indeed." Then cut the rest of it. Just leave it as "No field or methodology stands
to prosper or develop without such debates."
Perhaps the following:
The Journal of Schenkerian Studies is publishing the following responses to
Philip Ewell’s SMT 2019 plenary presentation, “Music Theory’s White Racial
Frame.” As the co-editors of an academic journal whose mission it is to encourage
the exchange of ideas, we are pleased that these responses express a variety of
thoughts and perspectives. No field or methodology stands to prosper or develop
without such debates. The Journal of Schenkerian Studies holds no official stance
regarding the issues addressed by the following responses.
-sps


Walls, Levi <LeviWalls@my.unt.edu>
Thu, Mar 12, 10:23 AM

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                                                                                             JACKSON000099
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 31 of 53 PageID #: 154




to Stephen, me, Benjamin
Hi Dr. Slottow, et al.,
I'll make sure to change the title in the intro. Please make sure to send the
updated version of your response today so we can finish the layout of the journal.
And thanks for your comments, your honesty is much appreciated!
Regards,
Levi Walls


Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 12:44PM
to Stephen, Benjamin, Levi
Dear Colleagues,
Building on Stephen's comment, I would like to propose the following. "Indeed,
academic discourse is the lifeblood of philosophical inquiry, and no field or methodology
stands to prosper or develop without such debates" might be revised to read:
"Informed debate is the lifeblood of scholarly inquiry, and a field or methodology, such
as music theory, stands to prosper by interrogating and critiquing itself.” I think that the
point comes off better when phrased positively.
What do you all think of that?
Best wishes,
Tim
Walls, Levi <LeviWalls@my.unt.edu>
Thu, Mar 12, 12:56PM
to me, Stephen, Benjamin
Hi all,
That sounds fine. I was also thinking we could say “essence” instead of
“lifeblood.”
Regards,
Levi Walls

Slottow, Stephen <Stephen.Slottow@unt.edu>
Thu, Mar 12, 1:03 PM
to Levi, me, Benjamin
I'm not sure it IS the essence. I think I prefer lifeblood.
Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 1:03 PM
to Stephen, Levi, Benjamin
Yes, "essence" works well if not better than "lifeblood."
If we all agree, then I think the sentence is positive rather than pompous, and accurate,
and that the introduction is done. Please take out "Anonymous I," and just make it
"Anonymous." "Anonymous I" is funny, but perhaps this is the wrong place for humor.
Are we done with everything and ready to submit?



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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 32 of 53 PageID #: 155




Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 1:04 PM
to Stephen
Dear Stephen,
I'll let you argue out "lifeblood" vs "essence" with Ben and Levi. I can live with
either! Did you add your conclusion?

Slottow,Stephen <Stephen.Slottow@unt.edu> Thu, Mar 12, 1:07PM
to me
Can we read the full revised statement?


Walls, Levi <LeviWalls@my.unt.edu>
Thu, Mar 12, 1:07PM
to Benjamin, me, Stephen
Alright, I’ll change the intro and use “Anonymous.” The only thing I’m missing is Dr.
Slottow’s updated response. I just have the version from last week. Everything else
has been sent to Karen, who is starting to look through the materials.
- Levi Walls



[Final addition on March 12, 2020 Between Levi Walls and
Jackson]
Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 9:19PM
to Levi
Dear Levi,
I am sorry to burden you with this, but will do so anyway! I hope that it might still
be possible to make one last addition to my conclusion without throwing the train
off the track. Could you please insert the few sentences indicated in red in the
final paragraph, and one last footnote. I think that the point is significantly
important to try to make it, albeit just before the train leaves the station!
Although we now live in an era of “alternative facts,” I believe that demagoguery and
intellectual dishonesty must not go unanswered. We have seen what occurs when this
happens on a massive scale, with catastrophic results in the 20th century, and now
again in our own time. I was not present when Ewell spoke at the SMT plenary session,
but I heard about the standing ovation he received, which, to my mind, is just as
worrying as his talk itself. The warm reception, the applause that Ewell earned there, is
as outrageous and dangerous as the contents of his speech, and bespeaks the sorry
state of the field of music theory generally these days. Schenkerians of the different
pedagogical schools have always “decoupled” ideological claims from music theoretical
approaches. Furthermore, not only did Schenker's own ideas about politics and race
evolve considerably (as I have shown), so did his analytical methodology (as Pastille,
Bent, and others have amply documented). Looking back, at least two generations of

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                                                                                JACKSON000101
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 33 of 53 PageID #: 156




Schenkerians have explored and critiqued the evolutions of both aspects. For example,
what a tremendous transformation there is between Schenker's early and later ideas
about just the particular issue of organicism; the same holds true for his views of race,
which also changed dramatically![i] Ewell assures us that Schenker would have objected
to "decoupling" his philosophical, historical, political, racial, and other ideas from his
music theory. But is this claim really as self-evident as it might initially seem, since the
question then becomes: which philosophical-historical-political ideas cannot be
disassociated from which stages of music-theoretical development, given the very
significant advances in both dimensions? Therefore, even Schenker himself must have
recognized, especially late in his career, not only the possibility, but the absolute
necessity of such decoupling. Some would like to demolish the classical canon of
“Bach-to-Brahms,” falsely claiming it to be exclusively a “white male” elitist meritocracy,
and arguing that we should replace it with putatively egalitarian pop, hip-hop, punk, and
world musics. This is a mischaracterization because the great tradition of classical
music includes Black, Jewish, and female composers, and remains, as Schenker
ultimately recognized, an “elitism of the hearing of the spirit, not of race.” A colleague
recently wondered - given the apparent current lack of focus on "the notes" of complete
pieces within the Bach-to-Brahms canon (unfortunately, also a concept associated with
Schenkerian analysis) - if we music theorists were not now metamorphosing into non-
theorists. In other words, by divorcing ourselves from the detailed investigation of the
structure of pieces within the canon - which now, because deemed elitist, becomes
obsolete - we will all wake up one morning soon, just like the protagonist of Kafka's
Metamorphosis, who found himself a giant beetle. But, perhaps, just as Schenker finally
saw the light, albeit late in life, we music theorists will eventually also come to our
senses.
In all cases, better late than never.
[i] William Pastille, "Heinrich Schenker, Anti-Organicist,” 19th-Century Music, Vol.
8, No. 1 (Summer, 1984), pp. 29-36.

Walls, Levi <LeviWalls@my.unt.edu>
Thu, Mar 12, 9:39PM
to me
Dear Dr. Jackson,
No worries, I still have to put the page numbers for Slottow and Wiener into
your response, anyway. As soon as I have Dr. Slottow's response, I will know the
page numbers for sure, and will be able to cite them in yours. So I will add these
sentences while I am at it. And all the other changes were incorporated as well. Dr.
Slottow may have a point about the Kafka reference. I can see some of our
ethnomusicologist colleagues taking it the wrong way. It's up to you, of course, but it
may be better to frame that last point in a more positive way. Perhaps, instead of
placing a value judgement on ethnomusicology, you might consider framing the issue in
terms of there being a good reason that theory, musicology, and ethnomusicology are
different fields, because ethnomusicology, you might consider framing the issue in terms
of there being a good reason that theory, musicology, and ethnomusicology are different
fields, because they have different aims. In other words, the three branches are


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                                                                               JACKSON000102
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 34 of 53 PageID #: 157




separate but equal (for lack of a phrase without such baggage), and equilibrium will only
result in a less diverse range of perspectives.
But, again, you could go either way.
Regards,
Levi Walls


Walls, Levi <LeviWalls@my.unt.edu>
Thu, Mar 12, 10:03PM
to me
I've added the new sentences. I'm just waiting for those page numbers now. As
soon as I get Dr. Slottow's response, I'll add the page numbers for Slottow and
Wiener. As you previously specified I'll format it like so: "Since Stephen Slottow
addresses that issue (pp. x-x)..." "Furthermore, as Barry Wiener shows (pp. xx)..."
- Levi Walls


Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 10:15PM
to Levi
Great!
By the way, I added you to my Skype contacts! So that way, we can talk if needed.
Best, Tim

[Correspondence concerning the final proofs going to
press, March 13, 2020]
All of the responses were read by Ben Graf, Levi Walls, Stephen Slottow, and
Karen at UNT press. If there were further concerns about expressions of
“racism” or other issues, they were not expressed.

Graf, Benjamin <Benjamin.Graf@unt.edu>
Mar 13, 2020, 8:24 PM
to Levi, Stephen, me
Colleagues,
I responded to Tim’s inquiry but only to Levi (by mistake). I collected bios and
contributor agreement forms together so we will get them
shortly! Thank you for the reminder Tim!
Best,
Ben
Benjamin Graf, Ph.D.
University of North Texas
Music History, Theory and Ethnomusicology
Office: MU215



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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 35 of 53 PageID #: 158




Timothy Jackson <shermanzelechin@gmail.com>
Fri, Mar 13, 7:50 AM
to Benjamin, Levi, Stephen
Dear Levi and Ben,
It seems like we are ready to go. Might it be possible to see proofs of the entire Ewell
response section for one final check before it goes to press?
Best wishes,
Tim

Walls, Levi <LeviWalls@my.unt.edu>
Fri, Mar 13, 9:39AM
to Stephen, me, Benjamin
Hi all,
Sure, I’ll send the files in a bit. I'm just double checking page numbers.
Karen is also looking over them, as she always does before it goes to print, so
we'll have an extra line of defense (though I don't really intend us to need
one, but you never know).
Regards,
Levi Walls



[Suggestions on Slottow’s Conclusion on March 13, 2020]
Your conclusion
Inbox x
Timothy Jackson <shermanzelechin@gmail.com>
Thu, Mar 12, 8:09 PM to Stephen

Dear Stephen,
The conclusion definitely strengthens and rounds out the piece.
"Schenker may have believed at some points in his evolution? that his political
and racial beliefs were indistinguishable from his music theory and analytical
methodology, but his successors haven't agreed, finding something very valuable
in the latter but not in the former."
You might mention, in a footnote to this sentence, your article on teaching lines,
where Schenkerians of the quite different branches have nevertheless always
decoupled ideological claims from music theoretical approach. Furthermore, not
only did Schenker's own ideas about politics and race evolve considerably (as I
show), so did his analytical methodology (as Pastille, Bent, and others have
demonstrated). Looking back, Schenkerians have explored and critiqued the
evolutions of both. For example,
Heinrich Schenker, Anti-Organicist
William A. Pastille
19th-Century Music
Vol. 8, No. 1 (Summer, 1984), pp. 29-36.
What a tremendous evolution between Schenker's early and late ideas about just

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                                                                              JACKSON000104
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 36 of 53 PageID #: 159




this particular issue of organicism, and the same for his views of race!
Ewell assures us that Schenker would have objected to "decoupling" his
philosophical, historical, political, racial, and other ideas from his music theory. But
is that claim about Schenker as self-evident as it might seem, since the question
then becomes which philosophical-historical-political ideas cannot be decoupled
from which stage of his music theoretical development, given the significant
changes in both dimensions? Might you mention this?
However, in this important sentence: "Citing similar language in statements about
politics and race on the one hand, and tonal function and the Ursatz on the other,
suggests a false equivalence, the "will of the tones" notwithstanding.
I do not understand what you mean here by the qualification, "the "will of the
tones" notwithstanding." Could you please explain.
Footnote 12 is missing a quotation mark: [1] William Rothstein, “The
Americanization of Heinrich Schenker." In Hedi Siegel, ed., Schenker Studies,
(Cambridge: Cambridge University Press), 1990: 193-203.
Stephen Slottow <sslottow@gmail.com>
Fri, Mar 13, 3:48 AM
to me
Tim,
Thank you for your timely critique.
I've implemented many of your points. See comments in bold.
"Furthermore, not only did Schenker's own ideas about politics and race evolve
considerably (as I show), so did his analytical methodology (as Pastille, Bent, and
others have demonstrated)." What is the Bent reference?
"What a tremendous evolution between Schenker's early and late ideas about just
this particular issue of organicism, and the same for his views of
race! Ewell assures us that Schenker would have objected to "decoupling" his
philosophical, historical, political, racial, and other ideas from his music theory. But
is that claim about Schenker as self-evident as it might seem, since the question
then becomes which philosophical-historical-political ideas cannot be decoupled
from which stage of his music theoretical development, given the significant
changes in both dimensions? Might you mention this?" I'm thinking about this.
It's an important point, but I don't see how I can just "mention" it without
laying it out in some detail--and that would take more research and writing
than there is time for now. If SMT accepts it I'll devote time to making this
point. I have made the point that neither Schenker's historical/political/etc.
views nor his music theory/analytical methodology were static. I refer to your
response for the former, but I need a good reference for the latter. That's why
I'm asking about the Bent ref.
"However, in this important sentence: "Citing similar language in statements about
politics and race on the one hand, and tonal function and the Ursatz on the other,
suggests a false equivalence, the "will of the tones" notwithstanding. I do not
understand what you mean here by the qualification, "the "will of the tones"
notwithstanding." Could you please explain." I was making a sort of pun that,
despite the "will of the tones" (Tonville), equating statements about tones

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 37 of 53 PageID #: 160




with statements about people can only go so far. I've deleted that bit.
By the way, how does one, I wonder, handle attendance in online teaching? Or take
questions? Or should attendance even count any more?
-sps

[More Corrections on Pomeroy and Pellegrin on March 13,
2020]
Pomeroy corrections

Timothy Jackson Fri, Mar 13, 5:56 PM
Dear Levi, In Pomeroy,
Der Dreiklang needs to be italicized, both as a foreign expression and as the title of a
journal. In this sentence, albeit within parenthesis.

Walls, Levi Fri, Mar 13, 6:46 PM
That's good. Fixing now. Though I let a few things slip by, considering the sheer volume
of things I fixed in all the responses, I'm satisfied that only a thing


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Friday, March 13, 2020 4:46 PM
To: Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] Pomeroy corrections
2 Attachments
Thanks!
Done. Looks good.

Walls,Levi <LeviWalls@my.unt.edu>
Fri, Mar 13, 6:46 PM
to me
That's good. Fixing now. Though I let a few things slip by, considering the sheer
volume of things I fixed in all the responses, I'm satisfied that only a thing here and
there was wrong. Karen will also be having a go at these before they go to print,
just in case. Also, the Wiener response has an incorrect date in it ("2109") but I've
already changed it to 2019.


Timothy Jackson <shermanzelechin@gmail.com>
Fri, Mar 13, 5:37 PM
to Levi, Benjamin, Stephen
Dear Colleagues,
I read through Pellegrin's contribution, and found only one small thing: “America’s
classical music”; place quotation mark outside semicolon


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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 38 of 53 PageID #: 161




Walls, Levi <LeviWalls@my.unt.edu>
Fri, Mar 13, 5:42 PM
to Stephen, me, Benjamin
Walls, Levi <LeviWalls@my.unt.edu>
Fri, Mar 13, 5:42PM
to Stephen, me, Benjamin
Fixed!
- Levi Walls


Walls, Levi <LeviWalls@my.unt.edu>
Mar 13, 2020, 5:56 PM
to me, Benjamin, Stephen
Oh, and I'm attaching the Segall response, which I think was actually just Wiener
again in the version I sent you. I'm just having trouble exporting it right this minute.
So it should show up in a little bit.

From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Friday, March 13, 2020 3:41 PM
To: Timothy Jackson <shermanzelechin@gmail.com>; Graf, Benjamin
<Benjamin.Graf@unt.edu>; Slottow, Stephen <Stephen.Slottow@unt.edu>
Subject: Re: [EXT] Pellegrin
Fixed!
- Levi Walls


From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday, March 13, 2020 3:37 PM
To: Walls, Levi <LeviWalls@my.unt.edu>; Graf, Benjamin
<Benjamin.Graf@unt.edu>; Slottow, Stephen <Stephen.Slottow@unt.edu>
Subject: [EXT] Pellegrin
Dear Colleagues,
I read through Pellegrin's contribution, and found only one small thing:
“America’s classical music”; place quotation mark outside semicolon


Timothy Jackson Mar 13, 2020, 6:01 PM
No, I got Segall, and will look through it tonight. Did you make all of the not insignificant
corrections to Slottow? I am unsure whether I received the correct
Walls, Levi <LeviWalls@my.unt.edu>
Mar 13, 2020, 6:03 PM
to me
Haha. That must have been it.
I did make those changes to Dr. Slottow's shortly after he brought them up. I sent

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                                                                                 JACKSON000107
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 39 of 53 PageID #: 162




it to him and he confirmed that it looked good. But I will attach it for you if you'd
like to see.
- Levi Walls

Timothy Jackson Mar 13, 2020, 6:04 PM
Yes, I should eyeball it once to see if there are any small issues.


Walls, Levi Mar 13, 2020, 6:05 PM
Sure thing. Thanks for the extra set of eyes!

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday,
March 13, 2020 4:04 PM

Timothy Jackson Mar 13, 2020, 6:06 PM
Just between us, I like Pelligrin's response, which I find thoughtful and intelligent. I
understand Clark's point, but she completely misconstrues and misunderstands
Schenkerian analysis.

Walls, Levi <LeviWalls@my.unt.edu>
Mar 13, 2020, 6:26 PM
to me
I quite liked his as well. Rich and I discussed his response when I sent notes. I had
suggested some minor rhetorical additions that better connects the defense of
hierarchy to Ewell's ideas (in the middle, some time goes by without mentioning Ewell).
But he expressed a discomfort toward pushing back too much against Ewell specifically
because he didn't want his response to be misconstrued as racist. Of course, I said that
I understood and it was entirely up to him. It would have been nice if he had included a
refutation of Agawu's Schubert argument (as mentioned in Clark); but I couldn't have
suggested that to him, because I would have been stacking the deck against Clark. And
I'm meant to be impartial.
Yes, the idea that Schenkerian analysis inherently ignores parts of an analysis that
don't fit into the fundamental structure is a severe misunderstanding. The focal
point of many good graphs is how works don't adhere to that stucture; if the goal
was always simply "let's show how this piece expresses the Ursatz" (as many non-
Schenkerian believe), such an analysis would most likely be unnuanced and boring.


From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday, March 13, 2020 4:06 PM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: Re: [EXT] Pellegrin
Could you make one last addition to mine



                                                                                            38

                                                                                  JACKSON000108
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 40 of 53 PageID #: 163




Timothy Jackson <shermanzelechin@gmail.com>
Fri, Mar 13, 3:50 PM
to Levi
Dear Levi,
One last addition to my conclusion, indicated in blue. Also, could you please put
the "which" indicated in blue in italics.
For example, what a tremendous transformation there was between Schenker's
early and later ideas about just the particular issue of organicism; the same holds
true for his views of race, which also changed dramatically![i] Schenker's critics
assume that his cultural-political ideas were immutable, but in fact they were not:
just as there were u-turns in the rapid developments in his analytical methodology
and his readings of specific pieces, so too they occur in the ideological realm in
his transformation from anti-organicist to organicist, racist to non-racist, etc.. To
call attention to just one further striking example, Schenker's perception of the
United States evolved significantly in his last years. For most of his life, Schenker
had held America and Americans in low esteem, as is evidenced from the
quotation given above and many other comments until the later 1920s. However,
after Weisse emigrated to America in 1931 and began sending Schenker reports
about the enthusiastic reception of his theory there, and especially after Five
Analyses in Sketchform was published by the David Mannes Music School in 1933
with an English translation of Schenker's introduction, the great theorist's opinion
of America became decidedly more positive! Ewell assures us that Schenker would
have objected to "decoupling" his philosophical, historical, political, racial, and
other ideas from his music theory. But is this claim, even if true, really as selfevident
as it might initially seem, since the question then
becomes: which philosophical-historical-political ideas cannot be decoupled from
which stages of music-theoretical development, given the very significant
evolutions in both dimensions?
Then the last paragraph should start here:
Some would like to demolish the classical canon of “Bach-to-Brahms,” falsely
claiming it to be exclusively a “white male” elitist meritocracy, and arguing that we
should replace it with putatively egalitarian pop, hip-hop, punk, and world musics.
This is a mischaracterization because the great tradition of classical music
includes Black, Jewish, and female composers, and remains, as Schenker
ultimately recognized, an “elitism of the hearing of the spirit, not of race.” A
colleague recently wondered - given the apparent current lack of focus on
"the notes" of complete pieces within the Bach-to-Brahms canon (unfortunately,
also a concept associated with Schenkerian analysis) - if we music theorists were
not now metamorphosing into non-theorists. In other words, by divorcing
ourselves from the detailed investigation of the structure of pieces within
the canon - which now, because deemed elitist, becomes obsolete - we will all
wake up one morning soon, just like the protagonist of Kafka's Metamorphosis,
who found himself a giant beetle. But, perhaps, just as Schenker finally saw the
light, albeit late in life, we music theorists will eventually also come to our senses.
In all cases, better late than never.

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                                                                                JACKSON000109
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 41 of 53 PageID #: 164




[i] William
          Pastille, "Heinrich Schenker, Anti-Organicist,” 19th-Century Music, Vol.
8, No. 1 (Summer, 1984), pp. 29-36.

[Correspondence between the board, Alan Cadwallader,
Berry Wiener, Mar. 14-24, 2020]

In the end, Cadwallader submitted his response.
Important-- JSS Contributor Agreement Form schenker <schenker@unt.edu>
Sat, Mar 14, 9:00 PM
to Benjamin, me, Stephen, Levi
Dear JSS authors and advisory board,
As we put the finishing touches on volume 12 of our journal, I ask all contributors
to reply (not reply all) with the following items within the next few business days:
1) Signed and dated contributor agreement form (see attached)
2) Current mailing address (for the distribution of your print copy)
3) Short bio for the "contributors" section (only 2-4 sentences please)
Levi Walls has done excellent work on this volume and the journal will be in good
hands as he takes over sole editorship of the JSS. In my view, the additional
content that we collected this winter following Ewell's SMT plenary makes a great
addition to an already remarkable publication. Later this week, Levi will take on
some additional responsibilities, so I will be keeping track of these forms and
publisher information. All three items should be fairly simple to return, so thank
you in advance for your prompt attention to these items.
Cheers to getting this to press!
Sincerely,
Ben Graf
Attachments area

Stephen Lett Tue, Mar 17, 2:07 PM
Dear Ben (and board),
Cheers! I am attaching my signed contributor agreement. My address is: 114 Elliott Ave
Apt 203 Charlottesville, VA 22902
My bio is: Stephe

schenker <schenker@unt.edu>
Fri, Mar 20, 4:15 PM
to Allen, me, Stephen
Allen,
I hope this message finds you well. Is there any way that you could write a one or
two sentence permission to print your contribution? UNT Press has approved my
request for simpler, electronic written permissions during this time.
I think I can speak for all of us when I say that we would hate to see your section
excluded! I include Tim and Stephen on carbon copy if they would like to echo my
sentiments.

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                                                                              JACKSON000110
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 42 of 53 PageID #: 165




Please advise how we should proceed.
Best,
Ben

From: Allen Cadwallader <cadwallader78@gmail.com>
Sent: Saturday, March 14, 2020 9:02 PM
To: schenker <schenker@unt.edu>
Subject: [EXT] Re: Important-- JSS Contributor Agreement Form
I’m sorry I’m not in a position to do all of this right now. Please exclude my
contribution from the volume
On Sat, Mar 14, 2020 at 10:00 PM schenker <schenker@unt.edu> wrote:
...

Barry Wiener Tue, Mar 24, 3:18 AM
Dear Tim and Ben, I just reread my article. If possible, I hope you can make two last-
minute changes/adjustments. If it’s too late, I will understand. p. 197, c

schenker
Tue, Mar 24, 6:59 PM
Dear Barry,
We'll be submitting the journal to the press later this evening (pending the tying up of
one final loose end) so I went ahead and made those two cha

Barry Wiener <bwiener8@icloud.com>
Tue, Mar 24, 7:13PM
to schenker, me
Dear Levi,
Thanks. I just checked it.
I hope that everything is going well with you and your family.
All best,
Barry
2 Attachments
Support for you
Inbox


[More Corrections among Wiener, Jackson, and Levi
Walls, March 13-14, 2020]
There are very collegial discussions/exchanges about some responses with
Levi Walls.

Re: [EXT] More corrections
schenker <schenker@unt.edu>
Sat, Mar 14, 9:11 AM
to Barry, me

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                                                                                 JACKSON000111
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 43 of 53 PageID #: 166




Hi Barry,
Thanks, I’ll address all of these changes (including in yours and Slottow’s).
Regards,
Levi Walls

From: Barry Wiener <bwiener8@icloud.com>
Sent: Saturday, March 14, 2020 12:28:18 AM
To: schenker <schenker@unt.edu>
Subject: [EXT] More corrections
Dear Levi,
Here are some small errors that I noted in the articles:
Beach
p. 127 I was taught very old-fashioned (non-musical) theory [What does this
mean?]
p. 127 I, for one, would welcome into the analytical canon words [works] by both
black and women composers.
Boss
p. 132 It seems to me that one of Allen Forte’s priorities as
a practicioner [practitioner] of Schenkerian analysis was to use the method to
illustrate the genius of musicians who wrote in popular styles
Cadwallader
p. 136, note 5
“We stand before a Herculaneum and Pompeii of music! All musical culture is
buried; the very tonal material—that foundation of music which artists,
transcending the spare clue provided by the overtone series, created anew in all
respects from with [within] themselves—is demolished.”
p. 137: Notes 7, 8, and 9 are missing.
Anonymous, p. 200
What I do know is this: that the historical context is of upmost [utmost]
importance for a topic like this.
For Schenker to have not, at some point, hold [held] those beliefs would be truly
exceptional.
All best,
Barry


schenker <schenker@unt.edu>
Mar 14, 2020, 9:47 AM
to Barry, me
Alright, and these are fixed. Luckily, we'd already caught a few of them. Thanks so
much for the extra set of eyes! Just let me know about Lād in your article and we
should be good to go.
- Levi Walls

From: schenker <schenker@unt.edu>
Sent: Saturday, March 14, 2020 9:11 AM

                                                                                          42

                                                                                JACKSON000112
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 44 of 53 PageID #: 167




To: Barry Wiener <bwiener8@icloud.com>
Cc: Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] More corrections
Hi Barry,
Thanks, I’ll address all of these changes (including in yours and Slottow’s).
Regards,
Levi Walls

...
[Message clipped] View entire message
Timothy Jackson <shermanzelechin@gmail.com>
Mar 14, 2020,10:41 AM
to Levi, schenker
Dear Levi,
Beach p. 127 "I was taught very old-fashioned (non-musical) theory"
In the Beach, this is NOT a mistake, even though Barry queried it. Beach is being
sarcastic, and referring to the Roman numeral labeling type of music theory that is
still widely taught. So please don't touch that!
I assume that we collectively have caught everything now. I have to be honest that
I was too "turned off" by Segall to go through his response. Barry did read it
through carefully and found nothing wrong, so I am willing to trust him on that.
Ben says that he has requested short bios from all contributors. We need to proof
those too. I need to send you a couple of sentences - right? Also Stephen Slottow.
Don't forget to ask him.
I appreciate your own comment about Clark. Of all of the more supportive
comments for Ewell, I find Clark's the most interesting, and also the most worthy
of careful and systematic rebuttal. I understand why she thinks as she does, and I
would like to explain why her two main hypotheses are misguided, both about the
inter-relationship between Schenker's ideas and ideology and his analytical
technique and his putative "exclusion" of certain musical features in the song
analyses. Re. the first, Clark (like Ewell) incorrectly wants to freeze Schenker's
ideological positions in order to reject them, when they were in flux and
metamorphosed into their opposites. I think that I made this point in my response:
so "which" ideological position reasonably be inextricably aligned with "which"
part of the analytical technique? But the most important and interesting part of her
response - to me at least - concerns her point about "exclusion." Ironically,
Schenker's putative exclusion of these important musical aspects - which is no
exclusion at all - tells us more about their impact on the structure and semantics
of these Lieder than her seeming valorization of them ever could! I need to unpack
this point.
Best wishes, and thank-you for your hard work!
Tim




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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 45 of 53 PageID #: 168




[Updated files put together into a single PDF and printing
timeline on March 14, 2020]
-discussions among Levi Walls, Slottow, Graf, and
Jackson]
Walls, Levi <LeviWalls@my.unt.edu>
Sat, Mar 14, 4:55 PM
to me, Stephen, Benjamin
Hi all,
Using all the updated versions of articles, I've put everything together with
accurate layout (so that new items begin on odd pages, as per house style) and
page numbers (and pp. citations in Jackson and Boss have been updated). Please
find this file attached.
In just a minute, I will send updated PDFs of separate articles to their
respective authors, asking them to (once more) confirm that their contribution is
to their specifications. Just to be sure.
Our current timeline looks like this: Dr. Graf is contacting authors with
contributor agreements and a request for a short (2–3 sentence) bio. Those will be
coming in a few days. Karen says she will finish her own proofreading by the end
of this coming week. If Karen has any corrections that need to be made, Dr. Graf
and I will quickly make those changes. After that, we should be about ready to go.
So, in conclusion, printing should occur around March 23rd. Dr. Graf, does this
sound about right?
Thanks for your work, everyone!
Regards,
Levi Walls
...

Walls, Levi <LeviWalls@my.unt.edu>
Mar 14, 2020, 5:51 PM
to Benjamin, Stephen, me
I'm doing it now so we can see what it looks like and compare. I'll send when I'm
done.
- Levi Walls


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Saturday, March 14, 2020 3:43:50 PM
To: Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] Re: Updated files put together into a single PDF and printing
timeline
...




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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 46 of 53 PageID #: 169




Walls, Levi <LeviWalls@my.unt.edu>
Mar 14, 2020, 6:15PM
to Benjamin, Step
hen, me
Alright. What do we think of this? I did it quickly, so I'll need to double check it, but
as a sample, do we like it better? Again, I'm okay with either.
- Levi Walls


Attachments area

Timothy Jackson <shermanzelechin@gmail.com>
Mar 14, 2020, 6:27 PM
to Levi, Benjamin, Stephen
Personally, I think that it is really much better this way. Then we don't need a
separate table of contents later, which is awkward.
On the front cover, it should say, "With contributions by......" these authors, and list
the names in alphabetical order.
At the end, it should say BIBLIOGRAPHY FOR THE RESPONSES
Tim


Timothy Jackson Mar 14, 2020, 6:29 PM
First Proof of Volume 12.

Timothy Jackson<shermanzelechin@gmail.com> wrote: First Proof
of Volume 12.

Walls, Levi <LeviWalls@my.unt.edu>
Mar 14, 2020, 7:44 PM
to Benjamin, Stephen, me
Hi all,
Okay, here is a version that has the "Bibliography for the Responses" in the ToC.
I've also changed the "Introduction to Symposium on..." to have no list of authors
(as we now have that part in the ToC). I also changed the heading for the final
Bibliography to "Bibliography to the Responses."
Regards,
Levi Walls
From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Saturday, March 14, 2020 4:27 PM
To: Walls, Levi <LeviWalls@my.unt.edu>
Cc: Graf, Benjamin <Benjamin.Graf@unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>
...
[Message clipped] View entire message


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                                                                                  JACKSON000115
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 47 of 53 PageID #: 170




Slottow, Stephen <Stephen.Slottow@unt.edu>
Mar 14, 2020, 8:05 PM
to Levi, Benjamin, me
I agree with Tim that each response should have it's on page numbers. But other
changes should be made:
Symposium [or SYMPOSIUM] on Philip Ewell's SMT 2019 Plenary Paper, "Music
Theory's White Racial Frame" should stand by itself, since it is the title to the
concluding section of the issue.
Then "Introduction" [NOT "intro"] should be the first item of the symposium. I
think that probably all of the items of the symposium (except the main heading)
should be indented a bit so that they are clearly and graphically shown to be parts
of and under the main heading: "Symposium for Philip...."
As it is now, there is a confusion of levels--really! The main heading is a
middleground event, so to speak, and each item of the symposium is a foreground
event that composes out the middleground event.
CONTRIBUTORS should not be indented, since it is not a subhead of the
symposium.
-sps


Walls, Levi <LeviWalls@my.unt.edu>
Mar 14, 2020, 9:21 PM
to Stephen, Benjamin, me
Levels addressed. In past volumes, names of authors have been all capitalized, as
well as titles of sections (like CONTRIBUTORS). Should I all-cap "Symposium on
Philip Ewell’s SMT 2019 Plenary Paper, 'Music Theory’s White Racial Frame'"? It
seems like a bit much. Or just capitalize "Symposium" (SYMPOSIUM)? Or leave as
is?
- Levi Walls



Walls, Levi <LeviWalls@my.unt.edu>
Mar 14, 2020, 9:22 PM
to Stephen, Benjamin, me
ps. I'm putting more space between Clark and Cook.


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Saturday, March 14, 2020 9:20 PM
To: Slottow, Stephen <Stephen.Slottow@unt.edu>; Graf, Benjamin
<Benjamin.Graf@unt.edu>; Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] Re: Updated files put together into a single PDF and printing
timeline


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                                                                            JACKSON000116
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 48 of 53 PageID #: 171




Levels addressed. In past volumes, names of authors have been all capitalized, as
well as titles of sections (like CONTRIBUTORS). Should I all-cap "Symposium on
Philip Ewell’s SMT 2019 Plenary Paper, 'Music Theory’s White Racial Frame'"? It
seems like a bit much. Or just capitalize "Symposium" (SYMPOSIUM)? Or leave as
is?
- Levi Walls


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Saturday, March 14, 2020 6:15 PM
To: Graf, Benjamin <Benjamin.Graf@unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] Re: Updated files put together into a single PDF and printing
timeline
Alright. What do we think of this? I did it quickly, so I'll need to double check it, but
as a sample, do we like it better? Again, I'm okay with either.
- Levi Walls


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Saturday, March 14, 2020 3:51 PM
To: Graf, Benjamin <Benjamin.Graf@unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] Re: Updated files put together into a single PDF and printing
timeline
I'm doing it now so we can see what it looks like and compare. I'll send when I'm
done.
- Levi Walls


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Saturday, March 14, 2020 3:44 PM
To: Graf, Benjamin <Benjamin.Graf@unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>
Subject: Fw: [EXT] Re: Updated files put together into a single PDF and printing
timeline
Forgot to reply all


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Saturday, March 14, 2020 3:43:50 PM
To: Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] Re: Updated files put together into a single PDF and printing
timeline
Hi all,
I don’t have a strong preference for one or the other solution. Luckily, it works

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                                                                                  JACKSON000117
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 49 of 53 PageID #: 172




out so that it won’t require a full reformatting of the page numbers. So, it will be a
simple change. Shall I do it?
Regards,
Levi Walls


From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Saturday, March 14, 2020 3:29:09 PM
To: Graf, Benjamin <Benjamin.Graf@unt.edu>
Cc: Walls, Levi <LeviWalls@my.unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>
Subject: [EXT] Re: Updated files put together into a single PDF and printing
timeline
Dear Colleague,
I think that the front table of contents should list the authors and page numbers
for the responses to Ewell. In other words, they should be treated like short
articles, which is what most of them actually are.
Perhaps then, we can dispense with the list of contributors art the beginning of
the section of responses as redundant.
Do you agree?
Best, Tim


On Sat, Mar 14, 2020 at 4:57 PM Graf, Benjamin <Benjamin.Graf@unt.edu> wrote:
Confirmed, thank you Levi!
BG
Benjamin Graf, Ph.D.
University of North Texas
Music History, Theory and Ethnomusicology
Office: MU215


From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Saturday, March 14, 2020 4:55:05 PM
To: Timothy Jackson <shermanzelechin@gmail.com>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Graf, Benjamin <Benjamin.Graf@unt.edu>
Subject: Updated files put together into a single PDF and printing timeline
Hi all,
Using all the updated versions of articles, I've put everything together with
accurate layout (so that new items begin on odd pages, as per house style) and
page numbers (and pp. citations in Jackson and Boss have been updated). Please
find this file attached.
In just a minute, I will send updated PDFs of separate articles to their
respective authors, asking them to (once more) confirm that their contribution is
to their specifications. Just to be sure.
Our current timeline looks like this: Dr. Graf is contacting authors with

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 50 of 53 PageID #: 173




contributor agreements and a request for a short (2–3 sentence) bio. Those will be
coming in a few days. Karen says she will finish her own proofreading by the end
of this coming week. If Karen has any corrections that need to be made, Dr. Graf
and I will quickly make those changes. After that, we should be about ready to go.
So, in conclusion, printing should occur around March 23rd. Dr. Graf, does this
sound about right?
Thanks for your work, everyone!
Regards,
Levi Walls


[Final Article Confirmation, March 14, 2020]
schenker <schenker@unt.edu>
Sat, Mar 14, 5:33 PM
to me
Dear JSS contributor,
Attached is the "final" PDF setting of your article. This current version
incorporates the page numbers and layout that will appear in the printed journal.
Minor corrections may also have been made, as the journal has undergone the
near-final stages of proofing. In order to be certain that the final product is to your
specifications, please take the next several days to review the attached file for
accuracy. You may take up until Wednesday (3/18) in order to have time for careful
review.
In the next few days, our editor Ben Graf will contact you regarding the
contributor agreement and request for a short (2–3 page) bio. So please be on the
lookout for that email.
Thank you for your contribution to the JSS, and I look forward to hearing from
you.
Regards,
Levi Walls
Assistant Editor, JSS


[Correspondence between Ben Graf and Barry Wiener (one
of the contra contributors to the JSS) on March 14 and 20,
2020]
On Mar 14, 2020, at 10:00 PM, schenker <schenker@unt.edu> wrote:
Dear JSS authors and advisory board,
As we put the finishing touches on volume 12 of our journal, I ask all contributors
to reply (not reply all) with the following items within the next few business days:
1) Signed and dated contributor agreement form (see attached)
2) Current mailing address (for the distribution of your print copy)
3) Short bio for the "contributors" section (only 2-4 sentences please)
Levi Walls has done excellent work on this volume and the journal will be in good

                                                                                          49

                                                                                JACKSON000119
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 51 of 53 PageID #: 174




hands as he takes over sole editorship of the JSS. In my view, the additional
content that we collected this winter following Ewell's SMT plenary makes a
great addition to an already remarkable publication. Later this week, Levi will
take on some additional responsibilities, so I will be keeping track of these forms
and publisher information. All three items should be fairly simple to return, so
thank you in advance for your prompt attention to these items.
Cheers to getting this to press!
Sincerely,
Ben Graf
On 20 March, Ben Graf wrote to Wiener:
Thank you Barry! I should note that I enjoyed reading your response to Ewell. I
am so glad you could contribute to this volume.
Best,
Ben


[Close to printing, May 2020]
Walls, Levi
Thu 5/21/2020 9:25 PM
To: Slottow, Stephen; Graf, Benjamin; Jackson, Timothy
Hi Dr. Slottow, and all,
As per house style and previous issues, new articles are to start on odd
numbered pages, and if the previous article ends on an odd numbered page, the
following even page is to be left blank. In regard to the Schachter article, Ben and I
had discussed it and, after some consideration, weren’t sure about singling out
Schachter’s article for republication because it would have been construed by
some as a statement of a particular position on the part of the journal.
Congratulations on your promotion!
Regards,
Levi Walls


Slottow, Stephen
Wed 5/20/2020 11:10 PM
To: Walls, Levi; Graf, Benjamin; Jackson, Timothy
Levi (cc to Ben&Tim),
I was just now looking through the proofs for JSS 2019 and noticed numerous
blank pages. Have these been removed? If not, why not?
Thanks,
-sps


Timothy Jackson <shermanzelechin@gmail.com>
Apr 9, 2020, 11:12 PM
to Cary


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                                                                               JACKSON000120
Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 52 of 53 PageID #: 175




Dear Prof. Nelson,
Here is the latest issue of the Journal with the responses to Ewell. Please let me
know if you have any problem reading it.
With best wishes,
Tim

Timothy Jackson <shermanzelechin@gmail.com>
Jul 3, 2020, 8:10PM
to Allen
Dear Allen,
Here is the latest issue with the complete symposium. This way, you can read all of
the responses. I hope that this large file reaches you safely.
You absolutely MUST read Barry Wiener's response. He shows how Ewell's
"Schenker quotations" misinterpret Schenker's true meaning.
This is not a matter of honest mistakes, but deliberate manipulation and
decontextualization.
I look forward to your study of Rothgeb's counterpoint teaching very much. It will
greatly enrich the Rothgeb issue. I will dig out the Laufer analysis instruction and
send it to you. It is a bit in the same vein.
Best wishes,
Tim

Timothy Jackson <shermanzelechin@gmail.com>
Jul 3, 2020, 8:13 PM
to Allen
PS. The printed version is out, but I have not yet received a copy due to problems
associated with the pandemic.
By the way, JSS is open source, which means that back issues are all available on
line. https://digital.library.unt.edu/explore/collections/JSCS/



[Levi Walls appointed as an assistant editor to help Ben as
editor. Description of his duties.]
Brand, Benjamin
Thu 12/19/2019 3:31 PM
To: Slottow, Stephen; Jackson, Timothy
Cc: Graf, Benjamin
Schenkerian Studies- RA job description.docx
17 KB
Thanks again for putting this together. I’ve made some very light editorial changes
(e.g. changing references to TA to RA). Ben, could you please forward this on to
Levy if you haven’t done so already?
Best,
Benjamin

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Case 4:21-cv-00033-ALM Document 1-3 Filed 01/14/21 Page 53 of 53 PageID #: 176




Center for Schenkerian Studies — Research Assistant Position Description
(12.12.2019)
The position of RA for the Center for Schenkerian Studies is divided into two areas
of responsibility: the RA (1) will serve as editor of the Journal of Schenkerian
Studies (UNT Press) and (2) will facilitate research activity for the Center for
Schenkerian Studies.
I. Editor, Journal of Schenkerian Studies
· Solicit articles, reviews, and other special contributions for each issue of the
journal. Distribute submissions to the appropriate reviewers, ideally members of
the editorial board, and correspond to authors regarding the status of their
respective submissions. For manuscripts that are accepted for publications, work
with authors during the revising process and create the layout of each issue using
the software InDesign. This includes the typesetting of both complex illustrations
and graphical voice-leading analyses. Ultimately, all articles for publication must
adhere to the Journal of Schenkerian Studies style sheet.
1
· After creating the final proof, the editor will work with the staff at UNT Press to
complete the last revisions, cosmetic changes, placement of advertisements,
acknowledgements, etc. so that the PDF document can be sent out for
publication. The editor should remain in communication with the advisory board
throughout this process.
· Following the release of print copies, the editor distributes copies to both the
authors, editorial board members, and advisory board, while maintain a current
record of mailing ad-dresses and other pertinent contact information. The
recipients are often international, which requires more consultation with the UNT
Mailing services and the College of Music budget office.
· As an ongoing routine, the editor checks the Schenkerian Studies email account,
responds to inquiries, and distributes promotional materials at conferences,
events, etc.
II. Other duties to the Center
· The RA helps maintain and edit the Center’s websites, including uploading and
editing mate-rial on webpages.
· Other tasks encompass type-setting examples for Journal articles, both music
and Schenkerian graphs.




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